Case 1:19-cr-20388-JEM Document 1 Entered on FLSD Docket 06/28/2019 Page
                                                                     FI LED 1
                                                                            by of 16
                                                                                  YH                             D.C.



                                                                                              Jun 27, 2019

                                  UNITED STATES DISTRICT COURT                                 ANGELA E. NOBLE
                                                                                               CLERK U.S. DIST. CT.
                                  SOUTHERN DISTRICT OF FLORIDA                                 S.D. OF FLA - MIAMI


                              Case No.    19-20388-CR-MARTINEZ/OTAZO-REYES
                                         18 u.s.c. § 1956(h)
                                         18 U.S.C. § 1956(a)(2)(A)
                                         18 U.S.C. § 1956(a)(2)(B)(i)
                                         18 u.s.c. § 2
                                         18 U.S.C. § 982(a)(l)

          UNITED STATES OF AMERICA

         vs.

         LUIS ALFREDO MOTTA DOMINGUEZ and
         EUSTIQUIO JOSE LUGO GOMEZ,

                          Defendants.


                                            INDICTMENT

         The Grand Jury charges that:

                                    GENERAL ALLEGATIONS

         At all times relevant to this Indictment, unless otherwise specified:

                           RELEVANT STATUTORY BACKGROUND

         1.      The Foreign Corrupt Practices Act of 1977, as amended, Title 15, United States

  Code, Sections 78dd-l , et seq. (the "FCPA"), was enacted by Congress for the purpose of, among

  other things, making it unlawfu l to act corruptly in furtherance of an offer, promise, authorization,

  or payment of money or anything of value to a forei gn government official for the purpose of

  assisting in obtaining or retaining business for, or directing business to, any person.
Case 1:19-cr-20388-JEM Document 1 Entered on FLSD Docket 06/28/2019 Page 2 of 16




                           RELEVANT INDIVIDUALS AND ENTITIES

              2.   Corporaci6n Electrica Nacional, S.A. ("Corpoelec"), was Venezuela's state-owned

  electricity company. Corpoelec was controlled by the Venezuelan government and performed a

  function that Venezuela treated as its own, and thus was an "instrumentality" of the government

  of Venezuela as that term is used in the FCPA.

              3.   Corporaci6n Venezolana de       Comercio    Exterior S.A.    ("Corpovex")    was

  Venezuela's state-owned and state-controlled foreign trade corporation, and it entered into

  contracts on Corpoelec' s behalf.

              4.   Defendant LUIS ALFREDO MOTTA DOMINGUEZ was a citizen and national

  of Venezuela. MOTTA DOMINGUEZ was the Minister of Electrical Energy in Venezuela and

  the President of Corpoelec. MOTTA DOMINGUEZ was a "foreign official" as that term is

  defined in the FCPA, Title 15, United States Code, Sections 78dd-2(h)(2) and 78dd-3(t)(2).

              5.   Defendant EUSTIQUIO JOSE LUGO GOMEZ was a citizen and national of

  Venezuela and was the director of procurement at Corpoelec. LUGO GOMEZ was a "foreign

  official" as that term is defined in the FCPA, Title 15, United States Code, Sections 78dd-2(h)(2)

  and 78dd-3(t)(2).

              6.   Luis Alberto Chacin Haddad was a citizen of Venezuela and resident of the United

  States. Chacin was a "domestic concern" and an officer, employee, and agent of domestic concerns

  as those terms are used in the FCPA, Title 15, United States Code, Sections 78dd-2(a) and 78dd-

  2(h)(l ).




                                                      2
Case 1:19-cr-20388-JEM Document 1 Entered on FLSD Docket 06/28/2019 Page 3 of 16




              7.    Company A was a company registered in Florida, headquartered in Miami, Florida,

  and owned and managed by Luis Alberto Chacin Haddad. Company A had a bank account at

  Citibank N.A. (account ending 1390) in the Southern District of Florida. Company A was a

  "domestic concern" as that term is defined in the FCPA, Title 15, United States Code, Section

  78dd-2(h)(l ).

              8.    Company B was a company registered in Florida, headquartered in Miami, Florida,

  and owned and managed by Luis Alberto Chacin Haddad. Company B had a bank account at Bank

  of America N.A. (account ending 8828) in the Southern District of Florida. Company B was a

  "domestic concern" as that term is defined in the FCPA, Title 15, United States Code, Section

  78dd-2(h)(l ).

              9.    Jesus Ramon Veroes was a citizen and national of Venezuela who owned and

  operated various businesses in Venezuela and the United States. Veroes was a "person" as that

  term is defined in the FCPA, Title 15, United States Code, Section 78dd-3(f)(l ).

              10.   Co-Conspirator 1 was a dual citizen of Venezuela and the United States. Co-

  Conspirator 1 was a "domestic concern" and an officer, employee and agent of a domestic concern

  as those terms are used in the FCPA, Title 15, United States Code, Sections 78dd-2(a) and 78dd-

  2(h)(l ).

              11.   Company C was a company registered in Florida, and headquartered in Port St.

 Lucie, Florida. Company C was a "domestic concern" as that term is defined in the FCPA, Title

  15, United States Code, Section 78dd-2(h)(l). Co-Conspirator 1 was the president of Company

  C.




                                                       3
Case 1:19-cr-20388-JEM Document 1 Entered on FLSD Docket 06/28/2019 Page 4 of 16



          12.     Co-Conspirator 2 was a dual citizen of Venezuela and the United States. Co-

  Conspirator 2 was a "domestic concern" as that term is defined in the FCP A, Title 15, United

  States Code, Section 78dd-2(h)( 1).

                                            COUNT 1
                             Conspiracy to Commit Money Laundering
                                       (18 u.s.c. § 1956(h))

          1.     Paragraphs 1 through 12 of the General Allegations Section are re-alleged and

  incorporated by reference as though fully set forth herein.

         2.      From in or around January 2016, through in or around December 2018, in the

  Southern District of Florida, and elsewhere, the defendants,

                           LUIS ALFREDO MOTTA DOMINGUEZ and
                              EUSTIQUIO JOSE LUGO GOMEZ,

  did willfully, that is, with the intent to further the object of the conspiracy, and knowingly combine,

  conspire, confederate and agree with each other, Jesus Ramon Veroes, Luis Alberto Chacin

  Haddad, and other persons known and unknown to the Grand Jury, to commit an offense against

  the United States, that is, Title 18, United States Code, Section 1956:

                 a.      to knowingly conduct a financial transaction which involves the proceeds

  of specified unlawful activity, knowing that the property in the financial transaction represented

  the proceeds of some form of unlawful activity, with the intent to promote the carrying on of

  specified unlawful activity, in violation of Title 18, United States Code, Section 1956(a)(l )(A)(i);

                 b.      to knowingly conduct a financial transaction which involves the proceeds

  of specified unlawful activity, knowing the property involved in the financial transaction

  represented the proceeds of some form of unlawful activity, and knowing that the transaction was

  designed in whole and in part to conceal and disguise the nature, the location, the source, the

  ownership, and the control of the proceeds of specified unlawful activity, in violation of Title 18


                                                        4
Case 1:19-cr-20388-JEM Document 1 Entered on FLSD Docket 06/28/2019 Page 5 of 16



  United States Code Sections 1956(a)(l )(B)(i);

                 c.      to knowingly transport, transmit, and transfer a monetary instrument and

  funds from a place in the United States to and through a place outside the United States, and to a

  place in the United States from and through a place outside the United States, with the intent to

  promote the carrying on of specified unlawful activity, in violation of Title 18, United States Code,

  Section 1956(a)(2)(A); and

                 d.      to knowingly transport, transmit, and transfer a monetary instrument and

  funds from a place in the United States to and through a place outside the United States, and to a

  place in the United States from and through a place outside the United States, knowing that the

  monetary instrument and funds involved in the transportation, transmission, and transfer represent

  the proceeds of some form of unlawful activity, and knowing that transportation, transaction, and

  transfer was designed in whole and in part to conceal and disguise the nature, the location, the

  source, the ownership, and the control of proceeds of such specified unlawful activity, in violation

  of Title 18, United States Code, Section 1956(a)(2)(B)(i).

         It is further alleged that the specified unlawful activity is the following: (a) felony

  violations of the Foreign Corrupt Practices Act, Title 15, United States Code, Sections 78dd-2 and

  78dd-3; and (b) offenses against a foreign nation, specifically Venezuela, involving bribery of a

  public official, and the misappropriation, theft, and embezzlement of public funds by and for the

  benefit of a public official, as provided by Title 18, United States Code, Section 1956(c)(7)(B)(iv).

                                    PURPOSE OF THE CONSPIRACY

         3.      It was the purpose of the conspiracy for the defendants and their co-conspirators to

  unlawfully enrich themselves by making and concealing corrupt payments to LUIS ALFREDO

  MOTTA DOMINGUEZ and EUSTIQUIO JOSE LUGO GOMEZ in exchange for MOTTA



                                                       5
Case 1:19-cr-20388-JEM Document 1 Entered on FLSD Docket 06/28/2019 Page 6 of 16




 DOMINGUEZ and LUGO GOMEZ awarding contracts on behalf of Corpoelec to the Florida-

 registered companies owned and controlled by the bribe-paying co-conspirators.

                             MANNER AND MEANS OF THE CONSPIRACY

         The manner and means by which LUIS ALFREDO MOTTA DOMINGUEZ,

 EUSTIQUIO JOSE LUGO GOMEZ, and their co-conspirators sought to accomplish the

 purpose of the conspiracy included, among other things, the following conduct in the Southern

 District of Florida and elsewhere:

         4.      In or around the second half of2015, Luis Alberto Chacin Haddad, Co-Conspirator

 1, and Co-Conspirator 2 submitted bids to Corpoelec in hopes of obtaining contracts to provide

 equipment. Despite submitting low and competitive bids, they were not successful in securing

 contracts with Corpoelec.

        5.      In or around the first half of 2016, Luis Alberto Chacin Haddad, Co-Conspirator 1,

 and Co-Conspirator 2 joined together with Jesus Ramon Veroes, a close acquaintance of LUIS

 ALFREDO MOTTA DOMINGUEZ, to pursue contracts with Corpoelec. Thereafter, Veroes

 met with MOTTA DOMINGUEZ to discuss what would be required to obtain the contracts.

 MOTTA DOMINGUEZ told Veroes that he would award the Corpoelec contracts to Veroes and

 his business partners (Luis Alberto Chacin Haddad, Co-Conspirator 1, Co-Conspirator 2), and that

 Veroes should discuss and negotiate the terms with EUSTIQUIO JOSE LUGO GOMEZ.

        6.      As directed, Jesus Ramon Veroes met with EUSTIQUIO JOSE LUGO GOMEZ

 to discuss and negotiate the awarding of the contracts. LUGO GOMEZ explained that for every

 contract awarded by Corpoelec, Veroes, Luis Alberto Chacin Haddad, and their associates would

 be required to pay LUGO GOMEZ and LUIS ALFREDO MOTTA DOMINGUEZ kickbacks

 from the profits.



                                                    6
     Case 1:19-cr-20388-JEM Document 1 Entered on FLSD Docket 06/28/2019 Page 7 of 16



              7.      After finalizing the negotiations, LUIS ALFREDO MOTTA DOMINGUEZ and

       EUSTIQUIO JOSE LUGO GOMEZ directed or caused Corpoelec to award Company A,

       Company B, and Company C multiple contracts for the supply of equipment.

              8.      Luis Alberto Chacin Haddad, Jesus Ramon Veroes, and their co-conspirators

       inflated the price of the contracts to increase their own profits and the corrupt payments going to

       LUIS ALFREDO MOTTA DOMINGUEZ and EUSTIQUIO JOSE LUGO GOMEZ.

              9.      LUIS ALFREDO MOTTA DOMINGUEZ and EUSTIQUIO JOSE LUGO

       GOMEZ caused Corpoelec to direct payments on the corrupt and inflated contracts to bank

       accounts located in the Southern District of Florida and elsewhere.

              10.     Co-conspirators would and did discuss the corrupt scheme and the amount of bribes

       that would be paid to LUIS ALFREDO MOTTA DOMINGUEZ and EUSTIQUIO JOSE

       LUGO GOMEZ on the contracts awarded to Company A, Company B, and Company C, and how

       the profits otherwise should be divided among the co-conspirators.

              11.    In discussions with his co-conspirators, Luis Alberto Chacin Haddad anticipated

       that the initial bribe payment to LUIS ALFREDO MOTTA DOMINGUEZ and EUSTIQUIO

       JOSE LUGO GOMEZ would be approximately $2 million.

              12.    LUIS ALFREDO MOTTA DOMINGUEZ and EUSTIQUIO JOSE LUGO

       GOMEZ approved the following Corpoelec contracts on behalf of Corpoelec: (a) contract dated

       on or about July 11, 2016, for Company A to provide forklifts to Corpoelec for $6,429,000;

       (b) contract dated on or about August 1, 2016, for Company A to provide transformers to

       Corpoelec for $9,798,250; and (c) contract dated on or about July 21, 2016, for Company A to

       provide generators to Corpoelec for $893,713.89 .


.1

I
1
!.
                                                           7



I
Case 1:19-cr-20388-JEM Document 1 Entered on FLSD Docket 06/28/2019 Page 8 of 16



          13.    Pursuant to the corrupt agreement, between August 11, 2016, and June 20, 2017,

  Company A, Company B, and Company C obtained eight additional contracts with Corpoelec and

  Corpovex, totaling approximately $45 million, to supply Corpoelec with equipment.            The

  additional contracts included a contract between Company B and Corpoelec for Company B to

  supply lightbulbs for approximately $5,799,999, which was dated on or about December 6, 2016,

  and signed by LUIS ALFREDO MOTT A DOMINGUEZ.

          14.    Between on or about July 12, 2016, and on or about May 4, 2017, Corpoelec wire

  transferred, from bank accounts in and outside the United States, a total of approximately

  $16,947,574.46 in payments on corruptly obtained contracts to Company A's Citibank account

  (ending 1390) in the Southern District of Florida.

         15.     Between on or about October 4, 2016 and on or about May 11, 2017, Corpoelec

  wire transferred, from a bank account outside the United States, a total of approximately

  $4,254,394.85 in payments on corruptly obtained contracts to Company B's Bank of America

  account (ending 8828) in the Southern District of Florida.

         16.     Throughout the course of the conspiracy, and in exchange for all these lucrative

  contracts and improper business advantages, Jesus Ramon Veroes and Luis Alberto Chacin

  Haddad caused bribe payments to be made to, or for the benefit of, LUIS ALFREDO MOTTA

  DOMINGUEZ and EUSTIQUIO JOSE LUGO GOMEZ as directed by the defendants. Those

  payments included cash deliveries during the last three months of 2018 totaling approximately

  $270,000 to an individual representing MOTTA DOMINGUEZ and LUGO GOMEZ and the

  following wire transfers, among others, made to the accounts of unrelated third party nominees in

  order to hide and conceal the true nature of the corrupt payments:




                                                       8
Case 1:19-cr-20388-JEM Document 1 Entered on FLSD Docket 06/28/2019 Page 9 of 16




              a. on or about August 24, 2016, the wire transfer of approximately $71,250 from a

                 Citibank account (ending 1390) in the Southern District of Florida to an account in

                 Spain; and

              b. on or about September 13, 2018, the wire transfer of approximately $401,300 from

                 an overseas account controlled by Chacin to an account in Spain.

        All in violation of Title 18, United States Code, Section 1956(h).

                                          COUNTS2-7
                               Laundering of Monetary Instruments
                                   (18 U.S.C. § 1956(a)(2)(A))

         1.      Paragraphs 1 through 12 of the General Allegations Section and paragraphs 3

 through 16 of Count 1 are re-alleged and incorporated by reference as though fully set forth herein.

        2.       From in or around January 2016, through in or around December 2018, in the

 Southern District of Florida and elsewhere, the defendants,

                         LUIS ALFREDO MOTTA DOMINGUEZ and
                            EUSTIQUIO JOSE LUGO GOMEZ,

 did knowingly transport, transmit, and transfer, and attempt to transport, transmit, and transfer, a

 monetary instrument and funds from a place in the United States to and through a place outside

 the United States and to a place in the United States from and through a place outside the United

 States, with the intent to promote the carrying on of specified unlawful activity, that is, (a) felony

 violations of the FCPA under Title 15, United States Code, Sections 78dd-2 and 78dd-3; and

 (b) offenses against a foreign nation, specifically Venezuela, involving bribery of a public official,

 and the misappropriation, theft, and embezzlement of public funds by and for the benefit of a

 public official, pursuant to Title 18, United States Code, Section 1956(c)(7)(B)(iv), specified in

 each count below:




                                                       9
Case 1:19-cr-20388-JEM Document 1 Entered on FLSD Docket 06/28/2019 Page 10 of 16




     Count        Approximate Date              Financial Transaction
        2         October 11, 2016              Wire transfer in the amount of approximately
                                                $3,428,409 from and through an account m
                                                Venezuela to a Citibank account (ending 1390)
                                                located in the United States, specifically in the
                                                Southern District of Florida.
        3         October 24, 2016              Wire transfer in the amount of approximately
                                                $198,537 from and through an account in Russia to
                                                a Bank of America account (ending 8828) located
                                                in the United States, specifically in the Southern
                                                District of Florida.
        4        November 16, 2016              Wire transfer in the amount of approximately
                                                $981,352 from and through an account in Russia to
                                                a Citibank account (ending 1390) located in the
                                                United States, specifically in the Southern District
                                                of Florida.
        5        December 15, 2016              Wire transfer in the amount of approximately
                                                $445,906 from and through an account in Portugal
                                                to a Citibank account (ending 1390) located in the
                                                United States, specifically in the Southern District
                                                of Florida.
        6        March 31, 2017                Wire transfer in the amount of approximately
                                               $2,027,929 from and through an account in Russia
                                               to a Bank of America account (ending 8828)
                                               located in the United States, specifically in the
                                               Southern District of Florida.
        7        May 4, 2017                   Wire transfer in the amount of approximately
                                               $3,539,986 from and through an account in Russia
                                               to a Citibank account (ending 1390) located in the
                                               United States, specifically in the Southern District
                                               of Florida.

            In violation of Title 18, United States Code, Sections 1956(a)(2)(A) and 2.

                                             COUNTS
                                 Laundering of Monetary Instruments
                                    (18 U.S.C. § 1956(a)(2)(B)(i))

            1.     Paragraphs 1 through 12 of the General Allegations Section and paragraphs 3

  through 16 of Count 1 are re-alleged and incorporated by reference as though fully set forth herein.


                                                        10
Case 1:19-cr-20388-JEM Document 1 Entered on FLSD Docket 06/28/2019 Page 11 of 16




            2.    On or about August 24, 2016, in the Southern District of Florida and elsewhere, the

  defendants,

                           LUIS ALFREDO MOTTA DOMINGUEZ and
                              EUSTIQUIO JOSE LUGO GOMEZ,

  did knowingly transport, transmit, and transfer, and attempt to transport, transmit, and transfer, a

  monetary instrument and funds from a place in the United States to and through a place outside

  the United States, knowing that the monetary instrument and funds involved in the transportation,

  transmission, and transfer represented the proceeds of some form of unlawful activity and knowing

  that the transaction was designed in whole and in part to conceal and disguise the nature, the

  location, the source, the ownership, and the control of proceeds of specified unlawful activity, that

  is, (a) felony violations of the FCPA, Title 15, United States Code, Sections 78dd-2 and 78dd-3;

  and (b) offenses against a foreign nation, specifically Venezuela, involving bribery of a public

  official, and the misappropriation, theft, and embezzlement of public funds by and for the benefit

  of a public official, pursuant to Title 18, United States Code, Section 1956(c)(7)(B)(iv), as

  specified below:

     Count       Approximate Date             Financial Transaction
        8        August 24, 2016              Wire transfer in the amount of approximately
                                              $71,250 from a Citibank account (ending 1390)
                                              located in the United States, specifically in the
                                              Southern District of Florida, to and through an
                                              account in Spain.

         In violation of Title 18, United States Code, Section 1956(a)(2)(B)(i) and 2.




                                                                                                          I
                                                       11
                                                                                                          I
Case 1:19-cr-20388-JEM Document 1 Entered on FLSD Docket 06/28/2019 Page 12 of 16




                                               FORFEITURE
                                           (18 U.S.C. § 982(a)(l))

          1.           The allegations of this Indictment are re-alleged and by this reference fully

  incorporated herein for the purpose of alleging forfeiture of property to the United States of

  America in which the defendants, LUIS ALFREDO MOTTA DOMINGUEZ and EUSTIQUIO

  JOSE LUGO GOMEZ, have an interest.

          2.          Upon conviction of a violation of Title 18, United States Code, Section 1956, as

  alleged in Counts 1 through 8 of this Indictment, the defendants, LUIS ALFREDO MOTTA

  DOMINGUEZ and EUSTIQUIO JOSE LUGO GOMEZ, shall forfeit to the United States all

  property, real or personal, involved in such offense, or any property traceable to such property,

  pursuant to Title 18, United States Code, Section 982(a)(l ).

         3.           If any of the property described above as being subject to forfeiture, as a result

  of any act or omission of the defendants:

                 a.        cannot be located upon the exercise of due diligence;

                 b.        has been transferred or sold to, or deposited with, a third party;

                 c.        has been placed beyond the jurisdiction of the Court;

                 d.        has been substantially diminished in value; or

                 e.        has been commingled with other property that cannot be divided without

                           difficulty;

  the United States shall be entitled to forfeiture of substitute property, pursuant to Title 21, United

  States Code, Section 853(p).




                                                          12
Case 1:19-cr-20388-JEM Document 1 Entered on FLSD Docket 06/28/2019 Page 13 of 16




            All pursuant to Title 18, United States Code, Section 982(a)(l ), and the procedures set forth

    in Title 21, United States Code, Section 853,    as incorporated by Title 18, United States Code,
    982(b)( l).

                                                          A TRUE BILL



                                                          FOREPERS"ON'



                                                             &uz~c(~J
                        OORSHAN                           ROBERT ZINK
                        ATTORNEY                          ACTING CHIEF, FRAUD SECTION
                                                          CRIMINAL DIVISION




                                                          CHIEF, MONEY LAUNDERING AND
                                                          ASSET RECOVERY SECTION
                                                          CRIMINAL DIVISION




                                                        13




                                                                                                             I
  Case 1:19-cr-20388-JEM Document 1 Entered on FLSD Docket 06/28/2019 Page 14 of 16
                                                     UNITED STATES DISTRICT COURT
                                                     SOUTHERN DISTRICT OF FLORIDA


UNITED STATES OF AMERICA                                  CASE NO.

vs.
                                                          CERTIFICATE OF TRIAL ATTORNEY*
LUIS ALFREDO MOTTA DOMINGUEZ
and EUSTIQUIO JOSE LUGO-GOMEZ

                                Defendants.
~~~~~~~~~~~~~~~--'
                                                 I        Superseding Case Information:


Court Division: (select One)                              New Defendant(s)                           Yes        No
                                                          Number of New Defendants
_X_      Miami                  Key West                  Total number of counts
         FTL                    WPB              FTP

         I do hereby certify that:

         1.        I have carefully considered the allegations of the indictment, the number of defendants, the number of
                   probable witnesses and the legal complexities of the Indictment/Information attached hereto.

         2.        I am aware that the information supplied on this statement will be relied upon by the Judges of this Court in
                   setting their calendars and scheduling criminal trials under the mandate of the Speedy Trial Act, Title 28
                   U.S.C. Section 3161.

         3.        Interpreter:     (Yes or No)           ~
                   List language and/or dialect           SPANISH

         4.        This case will take     _5_ days for the parties to try.

         5.        Please check appropriate category and type of offense listed below:

                   (Check only one)                                           (Check only one)


         I         0 to 5 days                               x                             Petty
         II        6 to 10 days                                                            Minor
         II        11to20 days                                                             Misdem.
         IV        21 to 60 days                                                           Felony          x
         V:        61 days and over

         6.       Has this case been previously filed in this District Court?        (Yes or No)           No
         If yes:
         Judge:                                                  Case No.
         (Attach copy of dispositive order)
         Has a complaint been filed in this matter?              (Yes or No)                 NO
         If yes:
         Magistrate Case No.
         Related Miscellaneous numbers:
         Defendant(s) in federal custody as of
         Defendant(s) in state custody as of
         Rule 20 from the                                        District of

         Is this a potential death penalty case? (Yes or No)

         7.        Does this case originate from a matter pending in the Northern Region of the U.S. Attorney's Office prior to
                   October 14, 2003?                 Yes         X     No


         8.        Does this case originate from a matter pending in the Central Region of the U.S. Attorney's Office prior to
                   September 1, 2007?                Yes        X      No




*Penalty Sheet(s) attached                                                                                           REV 4/8/08
Case 1:19-cr-20388-JEM Document 1 Entered on FLSD Docket 06/28/2019 Page 15 of 16




                             PUNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                         PENALTY SHEET

  Defendant's Name: LUIS ALFREDO MOTTA DOMINGUEZ



  Count#: 1

  Conspiracy to Commit Money Laundering

  Title 18, United States Code, Sections l 956(h)

  *Max. Penalty:                Twenty (20) years' imprisonment

  Count#: 2-7

  Laundering Monetary Instruments

  Title 18, United States Code, Section 1956(a)(2)(A)

  *Max. Penalty:                Twenty (20) years' imprisonment

  Count#:8

  Laundering Monetary Instruments

  Title 18, United States Code, Section 1956(a)(2)(B)

  * Max. Penalty:               Twenty (20) years' imprisonment




   *Refers only to possible term of incarceration, does not include possible fines, restitution,
           special assessments, parole terms, or forfeitures that may be applicable.               II
                                                                                                   t
                                                                                                   f
Case 1:19-cr-20388-JEM Document 1 Entered on FLSD Docket 06/28/2019 Page 16 of 16




                             PUNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                         PENAL TY SHEET

  Defendant's Name: EUSTIQUIO JOSE LUGO-GOMEZ



  Count#: 1

  Conspiracy to Commit Money Laundering

   Title 18, United States Code, Section 1956(h)

   * Max. Penalty:              Twenty (20) years' imprisonment

  Count#: 2-7

  Laundering Monetary Instruments

  Title 18, United States Code, Section 1956(a)(2)(A)

  * Max. Penalty:               Twenty (20) years' imprisonment

  Count#: 8

  Laundering Monetary Instruments

  Title 18, United States Code, Section 1956(a)(2)(B)

  * Max. Penalty:               Twenty (20) years' imprisonment




    *Refers only to possible term of incarceration, does not include possible fines, restitution,
            special assessments, parole terms, or forfeitures that may be applicable.
